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16    ZUCKERBERG

17                            UNITED STATES DISTRICT COURT
18                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
19
     LAURA LOOMER, as an individual, et al.,              Case No. 3:22-cv-02646-LB
20
                          Plaintiffs,                    [PROPOSED] ORDER ON
21
            v.                                           STIPULATION REGARDING STAY OF
22                                                       DISCOVERY AND CONTINUATION
     FACEBOOK, INC., MARK ZUCKERBERG, in                 OF INITIAL CASE MANAGEMENT
23   his capacity as CEO of Facebook, Inc. and as an     CONFERENCE
     individual, TWITTER, INC., and JACK
24   DORSEY, in his capacity as former CEO of             Hon. Laurel Beeler
25   Twitter, Inc. and as an individual,
                          Defendants.
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28    CASE NO. 3:22-CV-02646-LB                                   [PROPOSED] ORDER ON STIPULATION
                                                                 REGARDING STAY OF DISCOVERY AND
                                                                      CONTINUATION OF INITIAL CASE
                                                                         MANAGEMENT CONFERENCE
      Case 3:22-cv-02646-LB Document 40-2 Filed 07/14/22 Page 2 of 2




 1                                       [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED that:

 3      1. If the Court denies Meta and Mark Zuckerberg’s forthcoming Motion to Dismiss in whole

 4         or in part, Meta, Mark Zuckerberg, and Plaintiffs shall confer pursuant to Fed. R. Civ. P.

 5         26 within 21 days after the Court’s ruling.

 6      2. If the Court denies Twitter and Jack Dorsey’s forthcoming Motion to Dismiss in whole or

 7         in part, Twitter, Jack Dorsey, and Plaintiffs shall confer pursuant to Fed. R. Civ. P. 26

 8         within 21 days after the Court’s ruling.

 9      3. The initial Case Management Conference currently scheduled for August 4, 2022 shall be

10         continued until and unless the Court denies Meta and Mark Zuckerberg’s or Twitter and

11         Jack Dorsey’s forthcoming Motions to Dismiss in whole or in part.

12      4. The initial Case Management Conference shall be set for 45 days after an order denying

13         Meta and Mark Zuckerberg’s or Twitter and Jack Dorsey’s Motion to Dismiss in whole or

14         in part, or as soon thereafter as convenient for the Court.

15      5. All discovery shall be stayed until the initial Case Management Conference provided for

16         by this order, except that Plaintiffs reserve the right to seek discovery on any personal

17         jurisdiction issues raised by any Defendant.

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19   Date: __________________________                     ___________________________________
20                                                        The Honorable Laurel Beeler
21                                                        United States Magistrate Judge

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     CASE NO.   3:22-CV-02646-LB                      1             [PROPOSED] ORDER ON STIPULATION
                                                                   REGARDING STAY OF DISCOVERY AND
                                                                        CONTINUATION OF INITIAL CASE
                                                                           MANAGEMENT CONFERENCE
